                 Case 19-61610-grs                       Doc 11        Filed 01/07/20 Entered 01/07/20 17:54:07                                         Desc Main
                                                                       Document      Page 1 of 3

 Fill in this information to identify the case:
 Debtor name St. Alexius Hospital Corporation #1
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                          Check if this is an
                                                KENTUCKY
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Aya Healthcare Inc.                                                                                                                                                    $228,851.50
 C/O Shannon Steely
 P.O. Box 123519,
 Dept 3519
 Dallas, TX 75312
 Biotronik Inc.                                                                                                                                                           $74,656.03
 P.O. Box 205421
 Dallas, TX 75320
 Boston                                                                                                                                                                   $84,421.30
 Scientific/Microvasi
 ve
 P.O. Box 951653
 Dallas, TX 75395
 Cardiovascular                                                                                                                                                           $75,757.96
 Systems Inc.
 1225 Old Highway 8
 NW
 Saint Paul, MN
 55112
 Faultless                                                                                                                                                              $154,336.75
 C/O Terry Mason
 2030 S. Broadway
 Saint Louis, MO
 63104
 Johnson & Johnson                                                                                                                                                      $229,182.74
 Healthcare Sys.
 5972 Collections
 Ctr. Dr.
 Chicago, IL 60693
 Jones Day                                                                                                                                                              $245,637.00
 C/O Chris Anderson
 77 West Wacker
 Drive
 Chicago, IL 60601




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 Debtor    St. Alexius Hospital Corporation #1                                                                Case number (if known)
           Name

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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 McKesson Medical                                                                                                                                                       $169,301.92
 Surgical
 C/O Marlena
 Waldrum
 12755 Highway 55
 Suite R200
 Minneapolis, MN
 55441
 Midwest Emergency                                                                      Disputed                                                                        $700,000.00
 Dept. Services, Inc.
 C/O Kevin Meder
 600 Washington
 Avenue, Suite 1800
 Saint Louis, MO
 63101
 MO Dep't of Higher                                                                                                                                                     $100,000.00
 Ed. & Workforce
 Dev.
 C/O Jaron D. Vail,
 MFA
 301 W. High Street
 P.O. Box 1469
 Jefferson City, MO
 65102
 Numed, Inc.                                                                                                                                                              $71,296.73
 P.O. Box 1098
 Denton, TX 76202
 Nurses PRN                                                                                                                                                             $151,519.75
 1101 E. South River
 Street
 Appleton, WI 54915
 Ortho Clinical                                                                                                                                                         $103,733.37
 Diagnostics
 P.O. Box 3655
 Carol Stream, IL
 60132
 SLU Care                                                                                                                                                                 $83,797.28
 P.O. Box 958541
 Saint Louis, MO
 63195
 Specialists in                                                                                                                                                         $215,281.00
 Anesthesia PC
 C/O Dr. Brad
 Bernstein
 500 S. Meramec
 Drive
 Saint Louis, MO
 63105
 Surgical Direct                                                                                                                                                          $69,557.06
 2355 Centerline Ind.
 Drive
 Saint Louis, MO
 63146

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 Debtor    St. Alexius Hospital Corporation #1                                                                Case number (if known)
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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Sysco                                                                                                                                                                  $159,401.01
 3850 Mueller Rd
 Saint Charles, MO
 63301
 The Talbot Group,                                                                                                                                                        $99,307.16
 LLC
 C/O Donna Talbot
 11741 W. Romin Rd
 Post Falls, ID 83854
 Total Renal Care                                                                                                                                                         $83,774.69
 Inc.
 P.O. Box 781607
 Philadelphia, PA
 19178
 Western Healthcare                                                                                                                                                       $92,000.00
 C/O Scott Webb
 13155 Noel Rd.
 Suite 200
 Dallas, TX 75240




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